






















IN THE COURT OF CRIMINAL APPEALS
OF TEXAS



NO. WR-80,823-02




EX PARTE KENDRA DRAUGHAN, Applicant




ON APPLICATION FOR A WRIT OF HABEAS CORPUS
CAUSE NO. 2010-428,943 IN THE 137th DISTRICT COURT
FROM LUBBOCK COUNTY




&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Per curiam.

O P I N I O N

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Pursuant to the provisions of Article 11.07 of the Texas Code of Criminal Procedure, the
clerk of the trial court transmitted to this Court this application for a writ of habeas corpus.  Ex parte
Young, 418 S.W.2d 824, 826 (Tex. Crim. App. 1967).  Applicant was convicted of possession with
intent to deliver a controlled substance and sentenced to ten years’ imprisonment. 
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Applicant contends that her counsel rendered ineffective assistance because he failed to
timely file a notice of appeal.  
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court has determined, based upon the record, that counsel failed to timely file a
notice of appeal.  We find that Applicant is entitled to the opportunity to file an out-of-time appeal
of the judgment of conviction in Cause No. 2010-428,943 from the 137th District Court of Lubbock
County.  Applicant is ordered returned to that time at which she may give a written notice of appeal
so that she may then, with the aid of counsel, obtain a meaningful appeal.  Within ten days of the
issuance of this opinion, the trial court shall determine whether Applicant is indigent.  If Applicant
is indigent and wishes to be represented by counsel, the trial court shall immediately appoint an
attorney to represent Applicant on direct appeal.  All time limits shall be calculated as if the sentence
had been imposed on the date on which the mandate of this Court issues.  We hold that, should
Applicant desire to prosecute an appeal, she must take affirmative steps to file a written notice of
appeal in the trial court within 30 days after the mandate of this Court issues.
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Copies of this opinion shall be sent to the Texas Department of Criminal Justice-Correctional
Institutions Division and Pardons and Paroles Division. 
&nbsp;
Delivered: April 30, 2014
Do not publish


